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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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        RAGHAVENDRAN SHANKAR,                               CASE NO. 2:24-cv-01837-LK
11
                               Plaintiff,                   ORDER DISMISSING CASE
12              v.
13      JOHN C. COUGHENOUR,
14                             Defendant.

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16          This matter comes before the Court sua sponte. Pro se plaintiff Raghavendran Shankar

17   commenced this action on November 5, 2024 by filing a proposed complaint, but did not pay the

18   filing fee or submit an application to proceed in forma pauperis (“IFP”). Dkt. No. 1. The Clerk’s

19   office sent Mr. Shankar a notice of filing deficiency, informing him that he needed to either pay

20   the filing fee or submit an IFP application by December 9, 2024. Dkt. No. 2. The notice also

21   informed Mr. Shankar that he needed to sign his complaint and return a copy of the signature page

22   by November 21, 2024. Id. The notice warned Mr. Shankar that failure to correct these deficiencies

23   may result in his case being dismissed. Id.

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     ORDER DISMISSING CASE - 1
              Case 2:24-cv-01837-LK          Document 4           Filed 04/29/25   Page 2 of 2




 1          Because Mr. Shankar took no further action, the Court DISMISSES the case without

 2   prejudice. The Clerk is directed to terminate this action.

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 4          Dated this 29th day of April, 2025.

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                                                           A
 6                                                         Lauren King
                                                           United States District Judge
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     ORDER DISMISSING CASE - 2
